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10
                        IN THE UNITED STATES DISTRICT COURT
11
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
13   UNITED STATES OF AMERICA,                Case No. 2:21-cr-491-SB
14                                            Hon. Stanley Blumenfeld, Jr.
          Plaintiff,
15
     v.                                       HON. JEFFREY FORTENBERRY’S
16
                                              SUPPLEMENT TO HIS MOTION IN
17   JEFFREY FORTENBERRY,                     LIMINE NO. 8 TO ADMIT HIS
18                                            STATEMENTS
          Defendant.
19                                             Hearing Date: February 8, 2022
20                                             Hearing Time: 8:00 a.m.

21                                            Indictment: Oct. 19, 2021
                                              Status Conference: Feb. 17, 2022
22                                            Trial: Mar. 15, 2022
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                         HON. JEFFREY FORTENBERRY’S SUPPLEMENT TO
                        MOTION IN LIMINE NO. 8 TO ADMIT HIS STATEMENTS
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 1         Through counsel, Hon. Jeffrey Fortenberry submits this Supplement pursuant to the
 2 Court’s February 11, 2022, Criminal Minutes Order. In this Supplement, Congressman
 3 Fortenberry identifies by page and line the Fortenberry statement-related evidence to be offered
 4 by the government and the defense, from the draft transcripts of his government interviews on
 5 or about March 23 and July 18, 2019.
 6         A. Nebraska interview, March 23, 2019
 7         With reference to the page and line numbering of the draft transcript of the March 23,
 8 2019, interview in Lincoln, Nebraska, the government offers the following segments:1
 9         1. 5:34–8:44
10         2. 11:15–12:42
11         3. 13:24–14:4
12         4. 15:4–27
13         5. 17:2–21
14         6. 18:16–32
15         7. 18:32–20:12
16         8. 20:12–21:15
17         9. 22:19–41
18         10. 26:20–27:16
19         11. 29:16–26
20         12. 30:3–9
21         13. 30:11–38
22         14. 30:44–31:10
23         15. 31:39–32:26
24         16. 33:9–38:22
25         17. 39:30–40:9
26
27         Citations reference the page number in the center of the bottom of the page of the
           1

   corresponding draft transcript (submitted under seal on February 11, 2022), followed by a
28
   colon, followed by the line number from the left margin of that page.
                                                1
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 1          18. 41:10–43:16
 2          19. 47:6–33
 3          The defense seeks admission of the entire Nebraska interview. The entire context is
 4 needed to rebut the government’s theory that Fortenberry “dug himself a medium-sized hole”
 5 in this interview by providing what the government claims were willfully incomplete and
 6 inaccurate responses. Opp’n to Mot. Suppress Stmts., Dkt. No. 47, at 1. In fact, Fortenberry
 7 tried in good faith to recall the events asked about to the best of his ability, but those efforts are
 8 not fully apparent without all his statements and the context of this entire interview.
 9          The government’s clips comprise much of the 48-page transcript, but, by chopping up
10 the interview into fragments, the government is likely to leave the jury disoriented with regard
11 to the pace and relative timing of the various parts of the interview. Thus, Fortenberry offers
12 the agents’ and his own questions, remarks, and utterances in the segments omitted from the
13 government’s clips as context and evidence of the relative timing of the segments offered by
14 the government. The government’s proposed clips will not save significant time in the trial,
15 because the government is already relying on a large number of clips from many different parts
16 of the interview.
17          In particularly important omissions from 3.23.19 Draft Transcript (“3.23 Tr.”) 38:22 to
18 39:30 and 43:16 to 47:6, the government’s choppy presentation would distort the jury’s
19 impression by hiding the disruption created by the agents’ interruptive questioning and
20 invitations to tangents. To see this, keep in mind that Fortenberry is charged with concealing
21 in this interview the very facts he is attempting to describe in this portion of the interview.
22 Shortly before the first break noted above, Fortenberry stated that he thought it “might be nice”
23 to conduct a further fundraiser with very individuals the government posited that it was
24 investigating, and he roughly accurately placed the timing of those considerations. When asked
25 repetitively, shortly thereafter, in an omitted segment about his “aware[ness]” of any illegal
26 donations, Fortenberry responds by recalling his Los Angeles fundraiser: “Now, remember I
27 was at an event out in L.A.,” 3.23 Tr. at 38:34, having received an award during the same visit.
28 Agent Carter says “there’s a distinction,” apparently referring to a distinction between
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 1 receiving an award and receiving an illegal donation, Fortenberry attempts to remain on topic
 2 by stating, “Again, if there’s money underlying that—” id. at 39:15, but gets interrupted again
 3 by both agents. Id. at 39:17–21, who insist, “you either would know or you don’t know.” Id. at
 4 39:17–18. In a response that flows naturally from the preceding omitted segment, Fortenberry
 5 expresses reservations and explains in a present sense impression which the government has
 6 included: “I’m a little hard-pressed right now, because you’re making me going off memory.”
 7 Id. at 39:41–42. The omitted segment is critical context to understand this remark and what
 8 follows in the government’s included clip.
 9          The same patterns continue in the omitted segment from 43:16 to 47:6, in which Agent
10 Carter tells Fortenberry, “I don’t want to put words in your mouth,” as he references the
11 distraction of dropping his papers, id. at 43:34, returning to repetitive, accusatory questioning:
12 “do you have any knowledge about illegal campaign donations?”, to which Fortenberry
13 responds again by noting concerns related to the weekend in which he held a Los Angeles
14 fundraiser, which the agents short-circuit by not allowing him to finish his thoughts regarding
15 the concerns, interrupting with ostensibly required questions asking Fortenberry whether he
16 had ever solicited or accepted a bribe for legislation or an official act. Id. at 45:1–15. All of this
17 somewhat confusing and disorienting conversation can really only be understood if it is heard
18 together—at the pace and with the timing with which it actually occurred.
19          Fortenberry therefore respectfully asks the Court to review the recordings of this
20 segment and the entire Nebraska interview to obtain a full sense of the disruptive effect of the
21 agents’ interruptive comments and questions. (For the above segments, please review in
22 particular the audio file titled “56F_LA_6718287_JF_Interview.003.wav” from 12:46 until
23 16:11.)
24          B. Washington, D.C., interview, July 18, 2019
25          With reference to the page and line numbering of the draft transcript of the July 18, 2019,
26 interview in Washington, D.C., the government offers the following segments:
27          1. 2:3–44
28          2. 3:43–4:16
                                                 3
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1         3. 4:24–5:16
2         4. 6:20–33
3         5. 7:22–8:2
4         6. 10:35–37
5         7. 11:4–29
6         8. 21:15–25
7         9. 22:3–8
8         10. 25:40–26:27
9         11. 31:43–36:24
10        12. 40:27–46:35
11        13. 47:1–18
12        14. 48:27–49:24
13        15. 50:1–42
14        16. 51:14–52:18
15        17. 54:9–18
16        18. 54:34–56:2
17        19. 57:1–58:37
18        20. 59:42–60:33
19        21. 60:35–61:15
20        22. 61:38–62:16
21        23. 63:1–64:2
22        24. 64:13–30
23        25. 65:42–67:6
24        26. 68:1–69:23
25        27. 72:8–38
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                        MOTION IN LIMINE NO. 8 TO ADMIT HIS STATEMENTS
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 1        The defense contends the following segments should also be admitted:
 2        1. 31:9–41. Offered not for the truth of the matter asserted but for the fact of the
 3           disclosures as evidence of good faith and for context for later statements and the
 4           government’s responses and follow-up questions. Also contains present sense
 5           impressions and statements of then-existing mental condition (“I don’t remember”;
 6           “I’m just not recalling”; etc.).
 7        2. 52:37–53:41. Offered for the effect on the listener, as context for the government’s
 8           follow-up investigative efforts, and the materiality or immateriality of the statements
 9           alleged as the basis for the charges of the indictment.
10        3. 54:30–32. Not hearsay because not an assertion. Offered to show Fortenberry’s state
11           of mind and good faith.
12        4. 65:42–66:25. Offered not for the truth of the matter asserted but for the fact of the
13           disclosures as evidence of good faith. Also offered for the effect on the listener, as
14           context for the government’s follow-up investigative efforts, including the
15           government’s interview of Jessica Furst Johnson, and the materiality or immateriality
16           of the statements alleged against Fortenberry as the basis for the charges of the
17           indictment.
18        5. 70:37–71:6. Verbal act relevant to show Fortenberry’s good faith and intent to assist
19           the government by waiving the privilege.
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1                                          Respectfully submitted,
2
3    Dated: February 15, 2022              BIENERT KATZMAN
                                           LITTRELL WILLIAMS LLP
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5                                          ___________________________
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